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                                   UNITED STATES DISTRICT COURT FOR
                                      THE DISTRICT OF NEW JERSEY

    IN RE: JOHNSON & JOHNSON TALCUM                                    MDL No. 2738 (MAS) (RLS)
    POWDER PRODUCTS MARKETING,
    SALES PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION


                                     SPECIAL MASTER ORDER NO. 25
                                   (ADDRESSING THREE MOTIONS TO
                                QUASH AND/OR FOR PROTECTIVE ORDER)


               This matter is before the Special Master (“SM”) on three motions to quash and/or for

    protective order that address defendants’ substantially similar document subpoenas: (1) Non-

    Party Beasley Allen’s Motion to Quash and/or for Protective Order Over Subpoena Directed to

    the Beasley Allen Law Firm (Dkt. No. 32445); (2) Plaintiffs’ Steering Committee’s Motion to

    Quash or for Protective Order Regarding Subpoenas Directed at Beasley Allen Law Firm, Smith

    Law Firm, and Ellington Management Group (Dkt. No. 32483); and (3) the Smith Law Firm’s

    Motion to Quash Subpoena Issued to the Smith Law Firm, PLLC (Dkt. No. 32603).1 The SM

    received defendants’ responses to the motions, the moving parties’ replies, and recently held oral

    argument.2

               Although discovery in federal litigation is recognized as broad, it is not unlimited.

    Parties may not roam at leisure through their adversary’s files regarding all matters that are of

    interest to them. To this end the Federal and Local Rules of Civil Procedure contain guardrails

    to prevent parties from delving into irrelevant areas. As will be explained, the discovery




    1
        Plaintiffs withdrew similar subpoenas issued to the Fortress Investment Group and Thompson Reuters.

    2
        Defendants are Johnson & Johnson and LLT Management LLC.




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    requested by defendants falls outside the boundary of what is authorized, appropriate and

    necessary. Accordingly, the moving parties’ motions to quash and/or for protective order will be

    granted.3

    BACKGROUND

               Since all interested parties are familiar with the background of this matter, a detailed

    discussion will not be provided. Suffice it to say, this MDL involves allegations that defendants’

    talcum powder products caused plaintiffs’ ovarian cancer. Defendants steadfastly deny

    plaintiffs’ claims. According to defendants’ their subpoenas are designed to flush out why the

    Beasley Allen Law Firm (“Beasley Allen”) and plaintiffs’ leadership counsel will not settle with

    defendants and why the firm is vigorously opposing defendants’ latest effort to settle the

    litigation.

               As to settlement, defendants have expressed their intent to pursue a “prepackaged”

    bankruptcy to resolve all current and future talc ovarian cancer claims for $6.475 billion (the

    “Plan”). Defendants’ Opposition Brief (“Opp. Brief”) at 1; see also Opp. Brief Exh. 4. The Plan

    provides for a three-month solicitation period during which claimants have the opportunity to

    vote for or against the Plan’s settlement terms. Id. To be approved, 75% of the claimants must

    endorse the Plan. The vote will close on July 26, 2024. It is no secret that Beasley Allen

    opposes the reorganization Plan.

               A brief description of the relevant parties is in order. Defendants cite to deposition

    testimony indicating that Beasley Allen represents approximately 11,000 ovarian cancer

    plaintiffs, 5,000 of whom filed cases in this MDL. Opp. Brief Exh. 1. One partner in the firm is

    Co-Lead Counsel. Another partner, Andy Birchfield, Esquire, has taken a leadership role with


    3
        Defendants do not contest the standing of the moving parties to challenge their subpoenas.



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    regard to settlement issues and has been intimately involved in settlement efforts with the

    defendants for years. The Plaintiffs’ Steering Committee (“PSC”) was appointed by the Court to

    represent the collective interests of the plaintiffs. The Smith Law Firm (“Smith”) is based in

    Mississippi, is not a party in this litigation, and is not counsel of record to any party in the

    litigation. Defendants, however, allege that in the past Smith referred talc cases to Beasley Allen

    and acted as co-counsel at talc trials. Defendants acknowledge they do not know for certain if

    Smith referred talc cases to Beasley Allen that are pending in this MDL. Ellington Management

    (“Ellington”) did not file a separate motion. Ellington is an investment and advisory firm.

    Defendants do not allege that Ellington provides litigation financing to Beasley Allen. Instead,

    defendants claim that Ellington provides financing to Smith. Defendants suspect the financing to

    Smith may be behind Beasley Allen’s objections to their settlement proposal.

            Defendants’ subpoenas directed to Beasley Allen (Dkt. No. 32201) and Smith (Dkt.

    No. 32226) are substantially similar and request production of the following documents:

            1.      All Documents or Communications that reflect or relate to any Funding You
    received from Fortress concerning the above-captioned case, and/or claims that have or may be
    asserted therein, including when the funding first began and on what terms.

           2.      All Documents or Communications that reflect or relate to any Third-Party
    Funding You have received in any way related to the Litigation and/or claims that have or may
    be asserted therein, including, without limitation, any Documents or Communications that relate
    to Funding received from Fortress concerning the above-captioned case.

           3.      All Agreements You have entered into with any person to provide You with
    Funding in any way related to the Litigation, and/or claims that have or may be asserted therein
    including, without limitation, any Agreements with Fortress concerning the above-captioned
    case.

           4.      All Documents, Communications, or Agreements that concern how much
    Remuneration You have received in Third-Party Funding in any way related to the Litigation,
    and/or claims that have or may be asserted therein including, without limitation, any Documents,
    Communications or Agreements that relate to Funding received from Fortress concerning the
    above-captioned case.




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             5.     All Documents, Communications, or Agreements that concern the conveyance,
    sale, syndication, factoring or other transfer of Third-Party Funding You have received that
    relates, in any way, to the Litigation and/or claims that have or may be asserted therein.

            6.      All Documents, Communications, or Agreements that concerning [sic] the
    authority to settle or otherwise resolve the Litigation and/or claims that have or may be asserted
    therein.

            7.      All Communications You have had with any Person who is not a party to this
    action, including news organizations like Thomson Reuters or Fortress, related to the Proposed
    Plan of Reorganization and the solicitation of personal injury Plaintiffs regarding same.

            8.      All Communications You have had with any person who is not a party to this
    action, including news organizations like Thomson Reuters or Fortress, related to settlement
    offers made to You by Defendants in connection with the Litigation.

    Requests 1-6 remain pending and are in dispute. Defendants agreed to forego Requests 7 and 8.

    Defendants also agreed to limit their scope of Requests 1-6 to exclude communications to

    journalists to the extent the communications are responsive to the requests. Additionally,

    defendants do not request privileged communications to be produced, such as communications

    solely between Beasley Allen or Smith and their clients regarding legal advice.

           Defendants’ subpoena seeks the following documents and information from Ellington

    Management (Dkt. No. 32215):

            1.     All Communications or Agreements between You and Law Firms related to the
    Litigation.

          2.     All Communications, Agreements, or Documents that reflect which Law Firms
    You have provided Funding to related to the Litigation.

           3.     All Communications, Agreements, or Documents that reflect when you began
    providing Funding to Law Firms related to the Litigation.

          4.     All Communications, Documents, or agreements that reflect in any way to
    Funding You provided to Law Firms related to the Litigation.

          5.     All Communications, Agreements, or Documents, that reflect the terms of the
    Funding You provided to Law Firms related to the Litigation.

            6.      All Communications between You and Law Firms related to Defendants’
    proposed Resolutions of the Litigation from 2020 to present, including Communications related
    to the Litigation and the Proposed Plan of Reorganization.

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          7.      All Communications between You and Law Firms related to the Proposed Plan of
    Reorganization and the solicitation of Claimants regarding same.

             8.     All Communications between You and Beasley Allen related to the Litigation.

            9.      All Documents related to Your Funding Beasley Allen’s activities related to the
    Litigation.

            10.     All Documents, Communications, or Agreements that concern the conveyance,
    sale, syndication, factoring or other transfer of Funding You provided to Beasley Allen that any
    way relates to the Litigation and/or claims that have or may be asserted therein.

             11.    All Communications between You and the Smith Firm related to the Litigation.

            12.     All Documents related to Your Funding the Smith Firm’s activities related to the
    Litigation.

            13.     All Documents, Communications, or Agreements that concern the conveyance,
    sale, syndication, factoring or other transfer of Funding You provided to the Smith Firm that any
    way relates to the Litigation and/or claims that have or may be asserted therein.

    All these requests remain pending and are in dispute. As discussed above, defendants agreed to

    limit the scope of these requests to exclude communications to Thomson Reuters or other

    journalists to the extent the communications might be responsive.

             Although the subpoenas at issue are slightly different, defendants clarified they are

    seeking production of the following general categories of materials: (1) documents regarding the

    subpoenaed parties’ litigation financing, including communications with third parties; (2)

    communications with third parties regarding settlement; and (3) the subpoenaed parties’

    communications with third parties regarding defendants’ proposed reorganization. Opp. Brief at

    10-11.

             Defendants argue their requested discovery is relevant, important and necessary in order

    to “shed light on what is really driving [Beasley Allen’s] persistent and vocal anti-vote campaign

    [to defendants’ proposed prepackaged bankruptcy].” Id. at 2-3. Defendants contend that

    information regarding whether Beasley Allen has litigation funding is important because they



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    “need to know who the players are so they can understand the financial incentives driving their

    motivations, and even more fundamentally, if the financial incentives have become so out of

    balance that settlement is effectively impossible.” Id. at 14. J&J continues that “there is good

    cause to suspect that funders have express or de facto control over settlement, that the interests of

    the plaintiffs are not being promoted or protected, and that conflicts of interest exist.” Id. at 19.

    And, J&J argues, “Beasley Allen’s conduct suggests that … undisclosed financial interests are

    actually driving its decisions relating to the resolution of the talc litigation.” Id. at 20.

    Defendants conclude by arguing litigation financing materials are not privileged or protected

    work product, and that their requests are not unduly burdensome, overbroad, or harassing. It

    appears at this time that defendants do not challenge Beasley Allen’s representation that it does

    not have litigation funding for this MDL. Instead, defendants contend that counsel that referred

    talc cases to Beasley Allen in the past (i.e., Smith) may be saddled with financing that impacts

    Beasley Allen’s settlement position in this MDL.

               Beasley Allen’s and the PSC’s opposition to the subpoenas are in lockstep. They argue

    that defendants’ subpoenas seek irrelevant, privileged and disproportional discovery. The PSC

    also contends defendants’ subpoenas are unduly burdensome, oppressive, and harassing. Smith

    argues that litigation funding information and settlement communications are irrelevant and a

    subpoena for all communications with “any person” imposes an undue burden.4

    DISCUSSION

               The Special Master will first address defendants’ request for litigation financing

    documents. The resolution of this request largely controls the decision as to the discoverability

    of communications with third parties concerning settlement and defendants’ reorganization plan.


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        The moving parties no longer contest service of defendants’ subpoenas.



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    1.     Defendants’ Request for Documents Regarding Litigation Funding

           Ordinarily the scope of discovery is cabined by Federal Rule of Civil Procedure 26(b)(1),

    which states as follows: “[u]nless otherwise limited by court order, … parties may obtain

    discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense and

    proportional to the needs of the case[.]” As the moving parties correctly point out, defendants’

    subpoenas do not request information regarding a party’s claim or defense. Indeed, the requests

    have nothing to do with the core of the case which is whether defendants’ talc products contained

    asbestos and if the products caused plaintiffs’ cancer. Defendants do not try and hide this. In

    fact, they acknowledge that their subpoenas are directed to “shed[ding] light on what is really

    driving” the opposition to their settlement proposal and “[w]hy [Beasley Allen is] actively

    opposed to settling claims that are favorable to its own clients[.]” Opp. Brief at 2, 6. Since

    litigation funding is not relevant to a party’s claim or defense in this case, discovery on the topic

    is irrelevant under Rule 26. See In re Valsartan, 405 F. Supp. 3d 612, 615 (D.N.J. 2019) (“The

    Court agrees with the plethora of authority that holds that discovery directed to a plaintiff’s

    litigation funding is irrelevant.”) (citations omitted); GoTV Streaming, LLC v. Netflix, Inc.,

    2023 WL 4237609, at *11 (C.D. Cal. May 24, 2023) (litigation funding discovery does not relate

    to a legal claim or defense).

           Nevertheless, even though defendants’ subpoenas do not request information relevant to

    any party’s claim or defense, defendants may have a path forward. In Valsartan, the Court

    explained that litigation funding documents are not categorically off-limits. Rather, a party must

    demonstrate good cause showing that something untoward occurred before such discovery may

    go forward. The Court wrote:

           To be sure, the Court is not ruling that litigation funding discovery is off-limits in
           all instances. In cases where there is a showing that something untoward
           occurred, the discovery can be relevant. In other words, rather than directing

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           carte-blanche discovery of plaintiff’s litigation funding, the Court will Order the
           discovery only if good cause exists[.]”

    405 F. Supp. 3d at 615. The Court gave some examples of good cause:

           For example, discovery will be Ordered where there is a sufficient showing that a
           non-party is making ultimate litigation or settlement decisions, the interests of
           plaintiffs or the class are sacrificed or are not being protected, or conflicts of
           interest exist.

    Id.

           Local Federal Rule 7.1.1 of the District of New Jersey also gives defendants a path

    forward to obtain litigation funding discovery. This Rule requires lawyers to disclose certain

    details about third-party litigation funding including the identity of the funder, whether the

    funder’s approval is necessary for litigation or settlement decisions, and a brief description of the

    financial interest. See L. R. 7.1.1(a). Importantly, the Rule also provides:

           The parties may seek additional discovery of the terms of any … [litigation
           funding] agreement upon a showing of good cause that the non-party has
           authority to make material litigation decisions or settlement decisions, the
           interests of the parties or the class (if applicable) are not being promoted or
           protected, or conflicts of interest exist, or such other disclosure is necessary to any
           issue in the case.

    L. R. 7.1.1(b).

           The Special Master now turns to defendants’ arguments for why good cause exists for

    defendants to pursue their subpoenas. Several of defendants’ arguments can be summarily

    addressed. First, defendants’ argument attacking litigation funding in general is irrelevant to the

    issues at hand. Defendants claim that “[t]he fuel for [the] explosion in [MDL] litigation is

    unquestionably third-party litigation funding.” Opp. Brief at 8. Defendants’ distaste for

    litigation funding, however, does not address the discovery issue to be decided. Second, much of

    defendants’ brief cites to litigation funding discovery decisions from different jurisdictions. See

    Opp. Brief at 13 (“Information About Litigation Funding Is Considered Relevant And



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    Discoverable In Cases Across The County.”). These decisions will not be addressed in detail

    because they are distinguishable and not controlling.5 As Valsartan noted, “[a]t bottom, courts

    are split on the [discovery] issue and plaintiffs and defendants can each cite to cases supporting

    their position.” 405 F. Supp. 3d at 614; Hobbs v. American Commercial Barge Line LLC, 2023

    WL 6276068, at *3 (S.D. Ind. Sept. 26, 2023). Since controlling case law and the Local Rules

    from this District address the relevant issue, defendants’ reliance on cases and Local Rules from

    around the country is misplaced. Third, defendants’ argument that the requested documents are

    relevant to issues in a separate case plaintiffs filed against them is irrelevant to the issues at

    hand.6 The SM will only address discovery relevant to issues in this case, not a separate

    litigation. Four, defendants’ “champerty” argument is denied without further decision. Opp.

    Brief at 23.




    5
      For example, certain cases relied upon by defendants do not address litigation financing discovery at all, but rather
    whether an assignment of a federal claim is valid and whether to apply state or federal law to this question. See In
    re Turkey Antitrust Litig., 2024 WL 1328824, at *8 (N.D. Ill. Mar. 28, 2024); In re Pork Antitrust Litig., 2024 WL
    511890, at *7 (D. Minn. Feb. 9, 2024). Additionally, in In re Pork, there was no dispute that litigation financing was
    in fact in place and that the litigation funder had final settlement authority. Id.

    Even the cases cited by defendants that involve litigation financing discovery disputes are inapposite. See, e.g.,
    Hobbs v. Am. Commercial Barge Line LLC, 2023 WL 6276068, at *4 (S.D. Ind. Sept. 26, 2023) (discovery
    regarding medical funding in personal injury litigation relevant to assessing reasonableness of medical expenses and
    damages); In re Am. Med. Sys., Inc., 2016 WL 3077904, at *5 (S.D. W. Va. May 31, 2016) (same); Acceleration
    Bay LLC v. Activision Blizzard, Inc., 2018 WL 798731, at *3 (D. Del. Feb. 9, 2018) (litigation funding discovery
    relevant to central issues in patent litigation such as validity, infringement, valuation, damages, etc.); Gbarabe v.
    Chevron Corp., 2016 WL 4154849, at *2 (N.D. Cal. Aug. 5, 2016) (plaintiffs’ counsel conceded they were
    dependent on outside litigation funding and the relevance of litigation funding agreement); Cobra Int’l, Inc. v.
    BCNY Int’l, Inc., 2013 WL 11311345, at *3 (S.D. Fla. Nov. 4, 2013) (litigation funding discovery in patent dispute
    relevant to ownership of patent and standing to bring suit); Nelson v. Millennium Labs., Inc., 2013 WL 11687684, at
    *6 (D. Ariz. May 17, 2013) (permitting discovery of billing records and agreements between client and counsel or
    third parties where such information relates to damages and bias). Further, even though defendants argue that
    “MDL courts around the country have recently required disclosure of litigation financing information given the
    prevalence of litigation financing in mass tort litigation,” those courts have not required more than what Beasley
    Allen has already disclosed. See In re Zantac (Ranitidine) Prods. Liab. Litig., 2020 WL 1669444, at *6 (S.D. Fla.
    Apr. 3, 2020); In re Nat’l Prescription Opiate Litig., 2018 WL 2127807, at *1 (N.D. Ohio May 7, 2018).

    6
     See Opp. Brief at 17 n.5. (“Beasley Allen’s litigation funding is directly relevant to its adequacy as putative class
    counsel [in another case recently filed against Johnson & Johnson].”); see also Opp. Brief at 22.



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        Getting to the crux of the issue, the short answer as to why no good cause exists to grant

 defendants’ request for litigation finance discovery is that Beasley Allen, via Birchfield’s

 testimony, has already attested to the fact that Beasley Allen has no such litigation funding for

 this MDL. On two occasions Birchfield testified under oath that Beasley Allen has not used

 litigation funding for talc cases in this MDL. See Hr’g Tr. on Def.’s Mot. to Disqualify, Dkt.

 No. 32153 at 60-62. He similarly testified when deposed during the LTL-2 bankruptcy

 proceeding. See Beasley Allen Resp. Letter Br., Exh. 3, Dkt. No. 32251-3 at 11-13. (“[T]here

 was the allegation that Beasley Allen is so heavily indebted that we could not accept the

 [settlement] proposal, … that is categorically false…. We have not obtained litigation financing

 or funding for our talc clients.”). No good reason exists to question the veracity of Birchfield’s

 sworn testimony.

        Foregoing a challenge to Birchfield’s testimony, defendants pivot to the Smith Law Firm.

 Defendants’ subpoenas directed to the Smith firm are quashed because defendants have not

 shown good cause for the discovery. Defendants’ subpoena is based on the speculative assertion

 that the firm and Ellington have litigation financing tentacles with Beasley Allen in this MDL.

 Defendants allege that Smith partnered with Beasley Allen in the past on talc litigation and that

 Smith currently has substantial financing with Ellington. Opp. Brief at 8-9. Based on these

 sketchy allegations, defendants assert that Smith may have referred cases to Beasley Allen in this

 MDL and that Smith’s financing may therefore impact Beasley Allen’s settlement position. The

 Special Master will not bless discovery that is based on this sort of speculation and conjecture.

 Relying on the opinion of counsel, defendants assert “the Beasley firm is not able to say yes to

 any deal, because they’re way too deep in debt from funding.” Id. at 10 (citing Ex. 13). While

 the SM does not question the sincerity of counsel’s belief, no competent evidence has been



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 produced to support the assertion that Beasley Allen is “too deep in debt from funding” to settle

 or that Smith currently has any financing arrangement regarding this talc litigation. The fact that

 Smith may have partnered with Beasley Allen in the past on talc litigation is not competent

 evidence that the firm’s financing impacts Beasley Allen’s settlement position in this litigation.

 To put it bluntly, no competent evidence exists to support defendants’ argument that “litigation

 funding received by the Smith Law Firm has direct implications for Beasley Allen’s ability to

 settle cases (and vice versa).” Opp. Brief at 9. To the extent defendants want to fish around to

 discover Beasley Allen’s general financial condition, the request is denied. This subject area is

 out of bounds.7

          Even if Birchfield’s testimony does not “seal the deal,” other reasons exist to deny

 defendants’ motion. Although much has been written, the gravamen behind defendants’

 discovery request may be defendants’ belief that Beasley Allen should agree to its settlement

 offer because this is in the plaintiffs’ best interests. For example, defendants question “[w]hy is

 the Firm actively opposed to settling claims at terms that are favorable to its own clients?” Opp.

 Brief at 6. Defendants also argue that “[t]he approximately $6.475 billion settlement offer would

 represent one of the largest resolutions in the history of mass tort litigation (and is more than

 double the amount included in the term sheet previously negotiated with Beasley Allen).” Id.

 Being convinced of the benefits of their offer, defendants suspect there is an insidious reason for

 Beasley Allen’s rejection, i.e., litigation financing or common benefit fees. See id. at 1

 (“Beasley Allen is vehemently opposed to any resolution that does not maximize its own fee

 recovery[.]”) The SM holds that the mere fact that Beasley Allen rejects defendants’ settlement



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   Given the finding that defendants’ subpoenas request irrelevant discovery, there is no need to address the argument
 that the subpoenas request privileged or disproportional discovery.



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 offer does not establish good cause to authorize defendants’ subpoenas. To hold otherwise

 would open the floodgates to litigation financing discovery. It is not unusual or unexpected in

 high stakes litigation for defendants’ settlement offers to be rejected.

        Defendants would have a better argument if they could show Beasley Allen’s rejection

 was irrational or arbitrary and capricious. However, this is not the case. To be clear, the SM

 takes no position on the merits of defendants’ settlement offers or the liability issues in the case.

 This is not the SM’s role. Whether the SM agrees or disagrees with defendants’ settlement offer

 is immaterial. The bottom line is that the parties dispute the value of plaintiffs’ claims. The root

 of the parties’ differences may be their drastically different views as to whether asbestos is

 present in defendants’ products and if asbestos caused plaintiffs’ cancer. Defendants believe

 plaintiffs’ claims are frivolous while plaintiffs vehemently disagree. Given the available record

 generated over decades of talc litigation, the continuing scientific debate, and the fact that thus

 far plaintiffs have overcome a Daubert challenge, the SM does not conclude that Beasley Allen’s

 views are irrational or arbitrary or capricious. Instead, the parties are at odds about the value of

 plaintiffs’ claims. The SM therefore disagrees with defendants’ argument that “Beasley Allen’s

 conduct suggests that other undisclosed financial interests are actually driving its decisions

 relating to the resolution of the talc litigation.” Opp. Brief at 20. This being the case, the SM

 finds that no good cause exists to believe that Beasley Allen’s settlement position is motivated

 by an insidious reason such as litigation financing or the prospect of a lucrative common benefit

 fee. To repeat, the fact that a firm rejects a settlement offer, even if agreed to by other firms,

 does not establish good cause to obtain litigation financing discovery.

        Defendants’ additional arguments as to why good cause exists to permit their requested

 discovery fare no better. Defendants rely heavily on a May 14, 2020 email exchange between a



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 Beasley Allen talc claimant (“Jane Doe”) and defendants’ outside counsel. See Def. Exh. 5.

 Defendants argue the exchange demonstrates that Beasley Allen “actively misrepresented” that

 defendants were “unwilling to settle.” Opp. Brief at 20. Defendants further argue the exchange

 evidences that the client’s interests are not being protected or promoted, and that “[t]his is

 unlikely to be an isolated incident.” Id. Based on this short email exchange, defendants draw the

 conclusion that, “Beasley Allen’s conduct suggests that other undisclosed financial interests are

 actually driving its decisions relating to the resolution of talc litigation.” Id.

         The SM is unwilling to open the door to litigation financing discovery based on the

 referenced email exchange with one of Beasley Allen’s 11,000 clients. We know almost nothing

 about the sender of the email and what else she may or may not have been told about settlement.

 There is no context to the produced emails, and it is not known if Jane Doe is accurately or

 completely stating what Beasley Allen relayed. Defendants’ unfounded suspicion that the cited

 emails demonstrate there are “undisclosed financial interests” or that Beasley Allen

 misrepresented defendants’ settlement position is not supported by persuasive evidence. Also

 lacking support is defendants’ conclusion that the interests of Jane Doe and Beasley Allen’s

 clients are not being protected or promoted. Id. at 20. Evidence to support defendants’ claims is

 lacking. See Valsartan, 405 F.Supp. 3d at 616 (“The fact that defendants have raised no

 nonspeculative basis for their discovery request results in its denial.”).8 “Courts will compel

 discovery into funding sources only upon the presentation of some objective evidence that the

 discovering party’s theories of relevance are more than just theories.” US Technologies v.


 8
   Defendants overstate their case when they argue, “[d]efendants currently have a pending settlement offer out to
 [Jane Doe] (and all other claimants in the MDL) through the LLT proposed plan of reorganization.” Opp. Brief at 6.
 In fact, the Plan only refers to wide ranges of settlement values. Nor does the Plan give a precise date when the
 settlement will be paid. As a result, the Plan does not tell Jane Doe for certain how much and when she will be paid
 to settle. Also questionable is defendants’ assertion that Beasley Allen has not suggested defendants’ settlement
 offer “is too little.” Id. at 21. It is well known that time and time again more money has been demanded to settle.



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 Switch, Ltd., 344 F.R.D. 306, 312 (D. Nev. 2019). No such objective evidence has been

 proffered.

        Defendants also argue that “additional conflicts of interest abound” because Beasley

 Allen stands to lose common benefit fees if this talc litigation resolves in bankruptcy rather than

 at trial or through a traditional settlement. Opp. Brief at 21. This is not a sufficient ground to

 establish good cause to grant defendants’ requested discovery. Beasley Allen denies that its

 settlement position is motivated by common benefit concerns. The Firm has also represented

 that it has refused to discuss common benefit issues until a settlement in principle is reached.

 Further, Beasley Allen is not the only plaintiffs firm that has a distaste for mass tort settlements

 in the bankruptcy system. Thus, the Special Master concludes that no persuasive evidence exists

 that the specter of a common benefit award overrides the reasons Beasley Allen has given for

 why it objects to defendants’ settlement offers.

        Defendants rely heavily on Nimitz Technologies LLC v. CNET Media, Inc., 2022 WL

 17338396 (D. Del. Nov. 30, 2022), and argue the decision is a “case study on why disclosure of

 litigation financing is warranted[.]” Opp. Brief at 15. However, the case is plainly

 distinguishable. In that patent case the court had legitimate concerns about who the real party in

 interest was based upon, inter alia, Nimitz’s failure to file disclosures required by the court’s

 rules, violation of the Rules of Professional Conduct, the failure to comply with court orders, a

 possible fraudulent conveyance to a shell company, and the filing of a fictitious patent

 assignment designed to shield the real parties in interest from potential liability. Id. at 26. The

 facts in this case are not remotely analogous to Nimitz.




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 2.      Defendants’ Request for Communications Regarding Settlement and Defendants’
         Plan for Reorganization

         The discussion thus far has focused on defendants’ request for litigation financing

 documents. However, defendants also request communications with third parties regarding

 settlement and defendants’ proposed reorganization. This request is denied. No authority has

 been cited to support authorizing this discovery request. Additionally, the requested documents

 are irrelevant to any claim or defense in the case. No further explanation is necessary other than

 that previously given. As already noted, the fact that Beasley Allen objects to defendants’

 settlement offer does not establish good cause to inquire into litigation financing issues. Nor has

 good cause been established based on a short email exchange with a claimant or the fact that

 Beasley Allen may get a common benefit award if the parties settle outside the bankruptcy

 context. The Special Master rejects defendants’ argument that “there is good cause to suspect

 that funders have express or de facto control over settlement, that the interests of the plaintiffs

 are not being promoted or protected, and that conflicts of interest exist.” Opp. Brief at 19.

 CONCLUSION

         Accordingly, for all the reasons stated herein, the motions to quash and/or for protective

 order filed by Beasley Allen, the Plaintiffs’ Steering Committee, and the Smith Law Firm are

 granted. To repeat, the SM does not weigh in one way or the other as to whether defendants’

 settlement proposal is good or bad or if it should or will be accepted. That is for other people to

 evaluate and decide. The Special Master simply holds that there is no good cause to authorize

 defendants’ requested discovery.9




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  Defendants’ request that the Special Master review the subpoenaed documents in camera is denied. No good
 grounds exist to believe the review will reveal any fruitful information.



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                                            ORDER

        The Special Master having received the motions to quash and/or for protective order filed

 by Beasley Allen, the Plaintiffs’ Steering Committee, and the Smith Law Firm (Dkt. Nos. 32445,

 32483 and 32603), as well as defendants’ opposition and the moving parties’ replies; and oral

 argument having been conducted; and accordingly,

        IT IS HEREBY ORDERED this 9th day of July, 2024, that the moving parties’ motions

 are GRANTED, and defendants’ subpoenas directed to Beasley Allen, the Smith Law Firm and

 Ellington Management Group are QUASHED.


                                             By: s/ Joel Schneider
                                                Hon. Joel Schneider (Ret.)
                                                Special Master
 Dated: July 9, 2024




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